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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MARIO TRICOCI HAIR SALONS & DAY
 SPAS, LLC, d/b/a Tricoci Salon and Spa, an
 Illinois corporation,
                                                     Case No. 20-cv-07196
                       Plaintiff,
        v.                                           Hon. Matthew F. Kennelly
                                                     Hon. Mag. Gabriel A. Fuentes
 CLAUDIA POCCIA and MOLLY SLOAT,

                       Defendants.




               AGREED ORDER REGARDING FORENSIC INSPECTION

       This cause coming to be heard on Mario Tricoci Hair Salons & Day Spas, LLC d/b/a

Tricoci Salon and Spa’s (“Tricoci”) Motion to Set a Hearing Date for Tricoci’s Preliminary

Injunction Motion and for Expedited Discovery and Forensic Inspection (the “Motion”), due notice

having been given, and the Court being fully advised in the premises, IT IS HEREBY ORDERED:

       1. Tricoci’s request for forensic inspection is GRANTED;
       2. The Parties shall conduct forensic inspection of Defendants’ devices in accordance with
          the Forensic Protocol attached hereto as Exhibit 1.

Dated: December ___, 2020                           ____________________________________
                                                    Honorable Matthew F. Kennelly
Prepared by:
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Salons & Day Spas, LLC, d/b/a Tricoci Salon and Spa
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         Protocols:

         1. Defendants must turn over their personal cell phone/laptop/desktop/tablet used
            (including those used by not owned) for Poccia from February 11, 2019 – present, and
            for Sloat from March 4, 2019 – present, for forensic imaging1 and examination by
            Legility, LLC, a company that specializes in eDiscovery (“Legility”), no later than the
            close of business, Tuesday, December 29. Both Defendants will use best efforts to
            make the devices available earlier on December 29 if possible. (All parties understand
            that Legility works during normal business hours and has normal holiday closures.
            Legility will pick up and use its best efforts to return the devices within 48 to 72 hours
            of taking possession.

         2. Defendants will provide a sworn statement attesting that the cell phone, laptop, tablet
            and/or desktop (as applicable) turned over is the cell phone, laptop, tablet and/or
            desktop (as applicable) that was used during the time period specified above in
            Paragraph 1.

         3. Plaintiff will pay the costs of the forensic imaging, storage, and examination process
            from Legality.

         4. Defendants agree to allow Legility to mirror image the entire contents of their
            electronic devices.2 Defendants will provide any necessary passwords to access all
            information including Defendants’ email and other accounts promptly upon request.

         5. Legility is not authorized to disclose, disseminate, transfer, or otherwise provide the
            original or a copy of Defendants’ mirror images from any of their devices to any
            individual or entity without prior Order from the Court or joint instruction from all
            Parties authorizing such disclosure. Plaintiff agrees to confirm Legility’s understanding
            of the prohibition contained in this paragraph prior to Legility taking possession of any
            of Defendants’ personal electronic devices.

         6. Legility will prepare and provide i) an inventory of the device’s contents by
            data/content type that fall within agreed upon search terms, such inventory to include
            the type of file (.pst, .pdf, etc.), the name of the file, who sent and received the file (to
            the extent it is an e-mail transmission), the dates associated with the file, the name of
            the file and/or subject line of the file (to the extent it is an e-mail transmission), and all
            metadata, ii) all documents capture using agreed upon search terms, in a form viewable
            via a commonly used file format; and iii) a list of all the USBs or other storage devices
            (by serial numbers) attached to the imaged devices from January 1, 2019- present.
                a. To the extent files need special formatting, Legility will provide all parties and
                     the Court the necessary tools to access such files, such as specific software
                     programs.


1
 Commonly referred to as a “mirror image.”
2
 According to Legility, the time for this process should not exceed 3 business days and the device will be returned
by in-person delivery in the same condition and with the same information.
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         b. Plaintiff and Defendant have agreed upon a list of preliminary searches to be
            run which is attached here as Exhibit A.

  7. Legility will first provide the items listed in 6 above to Defendants’ counsel for their
     review. Defendants’ counsel shall review the items provided for privilege and privacy
     concerns, including any confidential information unrelated to this matter, and shall
     produce a log of any documents withheld from production to Plaintiff or any redactions
     to any documents with the same detail and specificity required by a privilege log to
     Plaintiff.

  8. Legality shall then provide any documents not contained on the log to Plaintiff’s
     counsel.

  9. Should Plaintiff have reasonable and articulated concerns about Defendants’
     production after Step 8 above, Plaintiff shall first meet and confer in good faith with
     Defendants’ counsel in an attempt to resolve the issue. If the parties are unable to
     resolve the issue, Plaintiff shall file a motion with the court requesting the court review
     the information provided by Legility to Defendants’ counsel via Step 7 but not provided
     to Plaintiff via Step 8 to determine if Defendants have inappropriately withheld relevant
     information.

  10. The Parties agree to act in good faith and meet and confer about any issues which arise
      prior to involving the Court.
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                                         Exhibit A
                       Preliminary Searches for MT v. Sloat and Poccia

   1. All texts and emails between Defendants
          a. @designdichotomy.com
          b. mjs@gmail.com
          c. Claudiapoccia4@gmail.com
          d. msloat@tricoci.com
          e. cpoccia@tricoci.com
          f. pocciaclaudia@icloud.com
          g. mrsandmrbig@gmail.com.
          h. Sloat phone numbers
                     (773) 744-5760
                     (MT phone number to be added)
          i. Poccia phone numbers
                     (847) 714-3247
                     (917) 683-0532
   2. All texts and emails to and from any MT email (such phone numbers to be provided by
      Defendants)

   3. All documents and metadata from the documents Sloat sent to herself during her
      employment with MT as can be identified from the emails identified in Plaintiff’s
      Memorandum of Law in Support of its Motion for Preliminary Injunction.

   4. All documents and metadata from any document downloaded by Sloat from March 4,
      2019 -October 20, 2020.

   5. All documents and metadata from any document downloaded by Poccia from February
      11, 2019 – October 20, 2020).

Search Terms:

   6. Product Vendors:
         a. Robertet Groupe
         b. Beth Sherrer bsherrer@robertetusa.com
         c. Cheryl Zeppenfeld czeppenfeld@robertetusa.com
         d. Pierre Wulff pwulff@robertetusa.com
         e. Doreen Raymond draymond@robertetusa.com
         f. Berry Plastcis/M&H
         g. Joshua Edmonson jedmonson@mhplasticsusa.com
         h. La Dove
         i. Yanisley Rodriguez YRodriguez@ladove.com
         j. Joey Cecio JCecio@ladove.com
         k. Open Door Packaging
         l. April Pena april@opendoorpackaging.com
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      m.    Greenway Research Lab
      n.    Rocco Altobelli rfa@roccoaltobelli.com
      o.    Patty Martin PMartin@greenwaylab.com
      p.    Robert Hessler <RHessler@greenwaylab.com
      q.    American Culture Hair
      r.    Louis M. Guarneri louis@americanculturehair.com
      s.    Contract Packaging Ltd
      t.    Troy Neeley neely@contractpackagingltd.com
      u.    Liquid Technologies/PLZ Aeroscience
      v.    Sean Scruton SeanS@liquidtek.com
      w.    Thomas Periolat Thomas@liquidtek.com
      x.    Precision Label
      y.    Angelo Quagliata angelo@precisionlabelcorp.com
      z.    Fran Rosenblatt – Broker/Brand Consultant
      aa.   franrosenblatt@aol.com

7. Marketing Vendors
      a. DM Luxury
      b. EAS Group
      c. Facebook
      d. Factor Model
      e. Ford Models
      f. Gauge
      g. Glymed
      h. Google
      i. Graphic Arts Studio
      j. Helferich
      k. Hilary Alvarez
      l. Indie Queens
      m. JAM Huisman Sarpaipark
      n. Juan Castrillon Dan Klores
      o. Kaiser Sindy
      p. Kelly Aiglon
      q. Luis Bueno
      r. Mailchimp
      s. Marc Di Pietro
      t. Meals
      u. Mega Flash Models
      v. Michael McCarthy
      w. Mighty Pac
      x. Modern Luxury
      y. Molly Dimick
      z. Moo.com
      aa. MSR Color
      bb. Next Bee
      cc. Next Day Flyers
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      dd. Nick Packard
      ee. Norman G Ibarra
      ff. Nouba
      gg. Orange Blue
      hh. Overnight Prints
      ii. Palay Display
      jj. Photoshoot Props
      kk. Pineapple Web
      ll. Pinterest
      mm.          Prime Membership
      nn. Products for Video
      oo. Ruby Glo
      pp. S. Walter Packaging
      qq. Shuttersock
      rr. Shutterstock
      ss. Sound Production & Lighting
      tt. Stickermule
      uu. Stocksy
      vv. Tinkering Monkey
      ww.          Twitter
      xx. Uline
      yy. UW Sponsorship
      zz. Vectorstock
      aaa.         Vistaprint
      bbb.         Wilhelmina International
      ccc.         Ydesign
      ddd.         Zapwater
      eee.         Yugovich
      fff. Perfect Corp
      ggg.         Digimarc

8. Products
      a. Perfect Blowout
      b. Transforming Mist
      c. Dry Shampoo
      d. Curl Renew
      e. Ultimate Sculpting Spray
      f. USS
      g. 3P1
      h. Everyday Shampoo
      i. Everyday Conditioner
      j. Hydrating Shampoo
      k. Hydrating Conditioner
      l. Intense Repair Mask
      m. Thickening Texture Cream
      n. Smoothing Shampoo
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       o. Smoothing Conditioner
       p. Finishing Paste

9. Additional Terms Legility shall run these searches and identify the number of hits for
   each term. Counsel for the parties shall confer about any search results that exceed 100
   hits.
           a. MT
           b. Fekkai
           c. Tricoci
           d. Marketing /10 plan
           e. Budget
           f. Financials
           g. Formula
           h. Label design
           i. Mario
           j. Cheryl
           k. Chris
           l. Santiago
           m. Angela
           n. Brinley
           o. Ryan
           p. Abud
           q. Jessica
           r. Barrera (Berrera)
           s. Distribution
           t. ULTA
           u. Sephora
           v. Blue Mercury
           w. Board
           x. WMR
           y. MD&A
           z. Texture
           aa. Skyline
           bb. Packaging
           cc. Precision
           dd. Holiday
           ee. Ginestra
           ff. pricing
           gg. strategy
           hh. Distribution
           ii. Competitor(s)
           jj. Confidential
           kk. Proposal
           ll. Responsibilities
           mm. Duties
           nn. Job /3 description or responsibilities or duties
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        oo. Deliverables
        pp. Contract(s)
        qq. Yugovich
        rr. Brand book
        ss. Inspiration board
        tt. Agreement
        uu. PopSugar
        vv. WEEK 45
        ww. MT Hair Care 2019
        xx. May MD_A
        yy. Marketing Summary
        zz. TalentConvo
        aaa. Initiatives
        bbb. Operational Plans
        ccc. Paid Media Performance Reports
        ddd. Budget Breakdown
        eee. 4th Quarter
        fff. Q4
        ggg. PrivateLabel or Private label
        hhh. IMG_1272
        iii. Logo
        jjj. Board Meeting
        kkk. Formula
        lll. Label design
        mmm. Distribution
        nnn. Competitor
        ooo. Vendor
